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                                                                             UNITED STATES DISTRICT COURT
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                                                                          NORTHERN DISTRICT OF CALIFORNIA
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                                                                                      SAN JOSE DIVISION
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                                               APPLE, INC., a California corporation,        )        Case No.: 12-CV-00630-LHK
For the Northern District of California




                                          11                                                 )
    United States District Court




                                          12               Plaintiff and Counterdefendant,   )        ORDER RE: STATEMENTS
                                                                                             )        REGARDING VERDICT FORM
                                          13          v.                                     )        [AMENDED TENTATIVE]
                                                                                             )
                                          14   SAMSUNG ELECTRONICS CO., LTD., a              )
                                               Korean corporation; SAMSUNG                   )
                                          15
                                               ELECTRONICS AMERICA, INC., a New York )
                                          16   corporation; and SAMSUNG                      )
                                               TELECOMMUNICATIONS AMERICA, LLC, )
                                          17   a Delaware limited liability company,         )
                                                                                             )
                                          18                Defendants and Counterclaimants. )
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                                                      The parties shall each file a statement of a maximum of one page commenting on the
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                                               Verdict Form [Amended Tentative], ECF No. 1832, by 5 p.m. on April 27, 2014. All objections
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                                               raised in prior briefing on the Verdict Form are preserved for appeal. Apple’s statement shall
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                                               include a response to Samsung’s statement, ECF No. 1827, indicating that JX32A and JX36B do
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                                               not contain the feature accused of infringing the ’959 Patent.
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                                               IT IS SO ORDERED.
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                                               Dated: April 27, 2014                                _________________________________
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                                                                                                    LUCY H. KOH
                                          28                                                        United States District Judge
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                                               Case No.: 12-CV-00630-LHK
                                               ORDER RE: STATEMENTS REGARDING VERDICT FORM [AMENDED TENTATIVE]
